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                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )   Case no. 1:21-cr-00263-TSC
                                             )
RUSSELL DEAN ALFORD                          )

                                 NOTICE OF APPEAL

       COMES NOW, the Defendant Russell Dean Alford, by and through his

undersigned counsel of record, the Office of the Federal Public Defender, and files this

notice of appeal of the Judgment signed on February 8, 2023 and entered on February 13,

2023 (Doc.110). Mr. Alford has previously been found to be indigent and entitled to

appointed counsel. He is therefore entitled, pursuant to 18 U.S.C. § 3006A(d)(7), to

proceed with this appeal without prepayment of fees and costs or security therefore and

without filing the affidavit required by 28 U.S.C. § 1915(a).

       This 14th day of February, 2023.

                                             Respectfully submitted,

                                             KEVIN L. BUTLER
                                             Federal Public Defender

                                             TOBIE J. SMITH
                                             Appellate Attorney

                                             /s/ James Gibson
                                             James Gibson
                                             Trial Chief
                                             Assistant Federal Public Defender
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                               CERTIFICATE OF SERVICE

        I hereby certify that on February 14, 2023, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all parties of record.


                                              Respectfully submitted,


                                              /s/ James Gibson




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